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                            I-INITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                              Criminal No. 2I-261 PAM/ECW

 UNITED STATES OF AMERICA.

                         Plaintiff.

          v.                                       PLEA AGRSEMENT AND
                                                   SENTENCING STIPULATIONS
 JERMAINE DONTAE MORzuS.

                         Defendant.


         The United States of America and Jermaine Dontae Morris (hereinafter referred to

as   the "defendant") agree to resolve this case on the terms and conditions that follow. This

plea agreement binds only the defendant and the United States Attorney's Office for the

District of Minnesota. This agreement does not bind any other United States Attorney's

Office or any other federal or state agency.

         1.     Charges. The defendant agrees to plead guilty to Count 1 of the Indictment,

which charges the defendant with being a felon in possession of a firearm, in violation of

Title 18, United States Code, Section 922(gQ).

         2.     Factual Basis. The defendant stipulates and agrees to the following facts

and further agrees that, were this matter to go to trial, the United States would prove the

following facts beyond     a reasonable   doubt:

                    a. On September 30, 2021, deputies with the Hennepin County Sheriff s
         Office Violent Offender Task Force (VOTF) observed traffic violations and
         attempted to stop a vehicle that the defendant was driving. The deputies pursued the
         defendant, who eventually stopped, parked, and ran into an apartment building
         lobby, where he tripped and fell on the ground. The deputies apprehended the


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       defendant and recovered a firearm in his waistband. Specifically, a Taurus handgun
       with serial number NLU65 122.

                   b.The firearm referenced above is a "firearm" as defined by federal law
       under 18 U.S.C. $ 921(a)(3), attd was not manufactured in the State of Minnesota.
       The firearm therefore necessarily traveled in interstate or foreign commerce before
       being in the defendant's possession in Minnesota on September 30, 202I.

                   c. The defendant agrees and admits that before September    30, 202l,he
       had been convicted of certain felony crimes, as listed in Count 1 of the Indictment,
       each punishable by more than one year in prison, that he knew he had previously
       been convicted of at least one crime punishable by more than one year in prison,
       that he knowingly and voluntarily possessed the fnearm on September 30, 202I,
       and that he knew he was prohibited from possessing any firearm on account of his
       prior felony convictions.

       3.     Waiver of Pretrial Motions. The defendant understands and agrees that

defendant has certain rights   to file pre-trial motions in this    case.   As part of this plea

agreement, and based upon the concessions ofthe United States within this plea agreement,

the defendant knowingly, willingly, and voluntarily gives up the right to file pre-trial

motions in this case.

       4.     Statutory Penalties. The United States believes that the defendant is subject

to the Armed Career Criminal Act ("ACCA"), 18 U.S.C. $ 924(e), and that Count 1 of the

Indictment, therefore, carries the following statutory penalties:

              a.            a mandatory minimum term of 15 years' imprisonment (18
                            U.S.C. $ e22(eX1),924(a)(2) and 92a@)Q\;
              b.            a maximum term of life imprisonment;
              c.            a supervised release term of not more than 5 years. (18 U.S.C.
                            $ 3s83(bX1));
              d.            a fine of up to $250,000. (18 U.S.C. $ 3583(b)(1));
              e.            a mandatory special assessment of $100. (18 U.S.C. $
                            3013(a)(2)(A)); and
              f.            assessment to the defendant of the costs of prosecution (as
                            defined :r;'28 U.S.C. $$ 1918(b) and 1920).


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        The defendant, however, reserves the right to argue that he is not subject to the

ACCA and to challenge, at sentencing and on appeal, the designation of any prior

conviction as a predicate felony under the ACCA. The parties agree that whether the

defendant does or does not qualify as an Armed Career Criminal    will be determined by the

Court in its discretion at sentencing, and that regardless of the Court's decision, neither

parry may withdraw from the Plea Agreement on that basis.        If the Court   finds that the

defendant is not subject   to the ACCA, the parties agree that the applicable statutory

maximum term of imprisonment is 120 months, 18 U.S.C. $922(9)(1) and 924(a)(2), (a

Class C felony), and that the maximum supervised release term is 3 years, 18 U.S.C.

$ 3583(bX2).

        5.     Revocation of Supervised Release. The defendant understands that          if   he

were to violate any condition of supervised release, the Court could revoke his supervised

release, and he could be sentenced to an additional term of imprisonment up to the statutory

maximum set forth in 18 U.S.C. $ 3583(eX3). See USSG $$ 78 7.4,781.5. The defendant

also understands that as part of any revocation, the Court may include a requirement that

he be placed on an additional term of supervised release after imprisonment, as set forth in

18   U.S.C. $ 3583(h).

        6.      Guideline Calculations. The parties acknowledge that the defendant will be

sentenced    in accordance with 18 U.S.C. $ 3551, et seq. Nothing in this plea agreement

should be construed to limit the parties from presenting any and all relevant evidence to

the Court at sentencing. The parties also acknowledge that the Court      will   consider the
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United States Sentencing Guidelines in determining the appropriate sentence and stipulate

to the following guideline calculations:

              a.     Base Offense Level. The United States believes that because the
                     defendant is subject to an enhanced sentence under the ACCA, the
                     base offense level is 33. USSG $ 4B1.4(bX3XB). The defendant
                     reseryes the right to argue that he is not subject to the ACCA and that
                     the base offense level is as low as 14 pursuant to U.S.S.G.
                     $ 2K2.1(aX6).



              b.     Specific Offense Characteristics. The parties agree that if the
                     defendant is not subject to the ACCA, no specific offense
                     characteristics apply.

              c.     Chapter Three Adiustments. The parties agree that no Chapter
                     Three adjustments apply other than as provided for below for
                     acceptance of responsibilib'.

              d.     Acceptance of Responsibility. The parties agree that if and only if
                     the defendant: (1) provides full, complete and truthful disclosures to
                     the United States Probation and Pretrial Service Office, including
                     providing complete, accurate and truthful financial information; (2)
                     testifies truthfully at the change-of-plea and sentencing hearings; (3)
                     complies with this agreement; and (4) does not engage in any act
                     inconsistent with acceptance of responsibility before the time of
                     sentencing, the United States will recommend that the defendant
                     receive a two-level reduction for acceptance of responsibility under
                     USSG $ 381.1(a), and, if the defendant's total offense level is 16 or
                     greater, will move for an additional one-level reduction under $
                     3E1.1(b). The defendant understands that any reduction for
                     acceptance of responsibility shall be determined by the Court in its
                     discretion. Nothing in this agreement, however, limits the right of the
                     Government, pursuant to U.S.S.G. $ 3E1 .I and/or $ 3C1.1 to seek
                     denial of a reduction for acceptance of responsibility or an
                     enhancement for obstruction of justice should the defendant engage
                     in any conduct inconsistent with acceptance of responsibility,
                     including moving to withdraw his guilty plea after it is entered.

              e.     Criminal History Category. The parties believe that, regardless of
                     whether the Court determines the defendant is subject to the ACCA
                     and based on the information currently available, the defendant's
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          criminal history category is V. This does not constitute a stipulation,
          but a belief based on an assessment of the information currently
          known. The defendant's actual criminal history and related status will
          be determined by the Court based on the information presented in the
          Presentence Report and by the parties at the time of sentencing. The
          final determination of the defendant's criminal history category will
          not provide either party a basis to withdraw from the plea agreement.

    f.    Guideline Ranse.

                 If the defendant      is subject to the ACCA: If the   adjusted
                 offense level is 30, and the criminal history category is V, the
                 advisory Guidelines range        is15J:188. with a statutory
                 mandatory-minimum sentence of 180 months' imprisonment,
                 making tie effective range 180-16-months' imprisonment.
                 USSG $ scl.1(c)(2).

                 If the defendant is not subject to the ACCA,      the defendant
                 reseryes the right to argue that the advisory Guidelines range
                 is as low as ?7-33 months' imprisonment, based on an adjusted
                 offense  1",r"ffia1history                category orv. ussc
                 $ sG1.1.

    q     Fine Ranse. If the adjusted offense level is 30, the fine range is
          $30,000 to $300,000. (USSG $ sE1.2(cX3)).

          If the adjusted offense level is 12,the fine range $5,500 to $55,000.
          USSG $ sEl.2(c)(3).

    h.    Supervised Release. If the defendant is subject to an enhanced
          sentence under the ACCA, the Sentencing Guidelines require a term
          of supervised release of term of at least 2 yearc but not more than 5
          years. USSG $ sD1.2(a)(1); 18 U.S.C. $ 3583(b)(1); 18 U.S.C. $
          3sse(a)(1).

          If the defendant is not subject to an enhanced sentence under the
          ACCA, the Sentencing Guidelines require a term of supervised
          release   of at least one 1 year but not more than 3 years. USSG $
          sDr.z(a)(2);   18   U.S.C. $ 3s83(b)(2); 18 U.S.C. $ 355e(aX3).

          Sentencing Recommendation and Departures. The parties reserve
          the right to make a motion for departures from the applicable
          Guidelines range and to oppose any such motion made by the
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                      opposing pafty.The parties reserye the right to argue for a sentence
                      outside the applicable Guidelines range, subject to any applicable
                      mandatory minimum sentence. Both parties acknowledge and agree
                      that if the defendant is sentenced under the ACCA, ffid in the event
                      that an applicable change in the law regarding the ACCA is enacted
                      by Congress, found by the Supreme Court, and/or adopted by the
                      United States Sentencing Commission, nothing inthis plea agreement
                      will preclude the defendant from pursuing any applicable remedy to
                      modify his sentence.

       7.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the Court. The parties understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely within the Court's discretion.

The Court may make its own determination regarding the applicable Guidelines factors

and the applicable criminal history category. The Court may also depart from the applicable

Guidelines range (but not below the mandatory-minimum sentence of 180 months,            if the

Court finds the ACCA to be applicable).        If   the Court determines that the applicable

guideline calculations or the defendant's criminal history category are different from that

stated above, the parties may not withdraw from this agreement, and the defendant       wilt be

sentenced pursuant to the Court's determinations.

       8.     Special Assessment. The Guidelines require payment                of a    special

assessment   in the amount of $100.00 for each felony count of which the defendant is

convicted. U.S.S.G. $ 5E1.3. The defendant agrees to pay the special assessment at the

time of sentencing.

       9.     Waivers of Appeal and Collateral Attack. The defendant hereby waives

the right to appeal any non-jurisdictional issues. This appeal waiver includes, but is not

limited to, the defendant's waiver of the right to appeal guilt or innocence, sentence and
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restitution, and the constitutionality of the statutes to which the defendant is pleading

guilty. The parties agree, however, that excluded from this waiver   are (1) an appeal by the

defendant regarding the applicability    of the ACCA and the designation of any prior

conviction as a predicate felony under the ACCA; and (2) the substantive reasonableness

of a term of imprisonment above the high end of the Guidelines range determined by the

district court. The defendant also waives the right to petition under 28 U.S.C.   g   2255 except

based upon a claim of ineffective assistance of counsel and an applicable change in the law

regarding the ACCA enacted by Congress, found by the Supreme Court, and/or adopted

by the United States Sentencing Commission.

       The defendant has discussed these rights with his attorney. The defendant

understands the rights being waived, and the defendant waives these rights knowingly,

intelligently, and voluntarily. The United States agrees to waive its right to appeal any

sentence except the government    may appealthe substantive reasonableness of a term of

imprisonment below the low end of the Guidelines range determined by the district court.

       10.    Forfeiture. The defendant agrees to forfeit to the United States, pursuant to

Title 18, United States Code, Section 924(d)(l) and Title 28, United States Code Section

2461(c), the following firearm and associated ammunition and accessories: a Taurus

handgun with serial number NLU65122 and any ammunition and accessories seized

therewith.

       The defendant agrees that the United States may, at its option, forfeit such property

through civil, criminal or administrative proceedings, waives any deadline or statute of

limitations for the initiation of any such proceedings, and abandons any interest he may
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have in the property. The defendant waives all statutory and constitutional defenses to the

forfeiture and consents to the destruction of the fuearm, ammunition, and accessories.

        11.   FOIA Requests. The defendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this case under the

Freedom of Information Act, 5 U.S.C. $ 552, or any other similar law or process.

        12.   Complete Agreement. This, along with any agreement signed by the parties

before entry of the plea, is the entire agreement and understanding between the United

States and the defendant.




Date:   UI   tl7-L                                       ES J.




                                       frL,                U.S. Attorney

Date:   slrc laa                                                           MORRIS


                                                  hza
                                                 Defendant

Date:7[s[zL
                                                 KEALA EDE
                                                 Counsel for Jermaine D. Morris
